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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-01-00137-CV&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;Texas Department of Public Safety, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;Susan Erard-Coupe, Appellee&lt;/CENTER&gt;
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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 00-3459, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

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&lt;P&gt;	Appellant Texas Department of Public Safety has filed a motion to dismiss the appeal,
to which appellee Susan Erard-Coupe has no objection.  We grant the motion and dismiss the appeal. 
Tex. R. App. P. 42.1(a)(2).&lt;/P&gt;

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&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/P&gt;

&lt;P&gt;Dismissed on Appellant's Motion&lt;/P&gt;

&lt;P&gt;Filed:   April 26, 2001&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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